          Case 1:20-vv-00098-UNJ Document 37 Filed 11/22/21 Page 1 of 2




  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-98V
                                        UNPUBLISHED


 PATRICIA SNELSON,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: October 14, 2021
 v.
                                                            Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                    Ruling on Entitlement; Concession;
 HUMAN SERVICES,                                            Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Emily Beth Ashe, Anapol Weiss, Philadelphia, PA, for Petitioner.

Terrence Kevin Mangan, Jr., U.S. Department of Justice, Washington, DC, for
Respondent.

                                   RULING ON ENTITLEMENT 1

       On January 29, 2020, Patricia Snelson filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that that she suffered a Table injury – Shoulder Injury
Related to Vaccine Administration (“SIRVA”) as a result of her November 14, 2018
influneza (“flu”) vaccination. Amended Petition, filed September 23, 2020, at 1. Petitioner
further alleges that the vaccine was administered within the United States, that she
suffered the residual effects of her injury for more than six months, and that there has
been no prior award or settlement of a civil action on her behalf as a result of her injury.
See Amended Petition ¶¶ 3, 23-24. The case was assigned to the Special Processing
Unit of the Office of Special Masters.

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:20-vv-00098-UNJ Document 37 Filed 11/22/21 Page 2 of 2




       On October 13, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent indicates that

       [m]edical personnel at the Division of Injury Compensation Programs,
       Department of Health and Human Services (DICP), have reviewed the facts
       of this case and concluded that petitioner’s alleged injury is consistent with
       SIRVA, as defined on the Vaccine Injury Table. Specifically, petitioner had
       no apparent history of pain, inflammation or dysfunction in her left shoulder;
       she more likely than not suffered the onset of pain within forty-eight hours
       of vaccine administration; her pain and reduced range of motion were
       limited to the shoulder in which the intramuscular vaccine was administered;
       and there is no other condition or abnormality present that would explain
       petitioner’s symptoms. 42 C.F.R. § 100.3(a), (c)(10). Therefore, petitioner
       is entitled to a presumption of vaccine causation.

Id. at 3. Respondent further agrees that

       [w]ith respect to other statutory and jurisdictional issues, the records show
       that petitioner’s claim was timely filed, that the vaccine was received in the
       United States, and that petitioner satisfies the statutory severity requirement
       by suffering the residual effects or complications of her injury for more than
       six months after vaccine administration. See 42 U.S.C. §§ 300aa-
       11(c)(1)(D)(i). Petitioner also avers that she has not filed a civil action for
       her vaccine-related injuries and has “never received any compensation in
       the form of award” or civil settlement for her vaccine-related injury. Petition
       at 5. Thus, based on the record as it now stands, petitioner has satisfied all
       legal prerequisites for compensation under the Act.

Id. at 3-4.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




                                             2
